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                            UNITED STATES DISTRICT COURT
                        IN THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

EBONE PORCH,                                           )
                                                       )
                Plaintiff,                             )
                                                       )      Case No. 21 CV 3848
                v.                                     )
                                                       )      Judge Steven C. Seeger

UNIVERSITY OF ILLINOIS at                              )
CHICAGO, SCHOOL OF MEDICINE,
                                                       )
                Defendants.                            )



                       MOTION FOR ADDITIONAL TIME TO AMEND
                       MOTION TO ALTER OR AMEND JUDGMENT

        Plaintiff, by and trough the undersigned attorney, pursuant to Federal Rule of Civil

Procedure 59(e), brings this Motion and respectfully asks this Court to grant her an additional 7

days to amend the draft of her motion to alter or amend its final judgement of December 21,

2022.

        In support thereof, Plaintiff states as follows:

1. Plaintiff filed a Motion to Alter or Amend Judgment herein on or about January 14, 2023

   [(Dkt, 33]

2. In an effort to keep up with deadlines and timely filings, Counsel elicited the help of outside

   counsel to assist with the preparation of certain pleadings. Obviously, counsel did not read

   the motion closely enough before filing. Nevertheless, the pleading is over the signature of

   Calvita J. Frederick, and she is solely responsible for its content.



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3. On March 9, 2023, this Honorable Court entered a Memorandum and Order which stated the

   following:

   “The Court offers the following modest suggestion. The Court invites counsel to reread

   the draft, with the benefit of the passage of time, and maybe a good night’s sleep. And more

   specifically, this Court invites counsel to have a moment of quiet reflection and revisit the

   tone of the filing. Counsel should ponder whether she would say it differently, on a second.

   go-around. If so, counsel has leave to file an amended motion by one week from the date of

   this Order.” [Dkt. # 34]

4. Unfortunately, Plaintiff’s counsel did not see the March 9, 2023, Memorandum and Order of

   this Court until today when she received a call from a reporter asking about the March 9,

   2023, Order.

5. Plaintiff’s counsel agrees with this Court’s assessment, wishes she could have a moment of

   quiet reflection and get a good night’s sleep, (which she hasn’t had in the past 4 months), but

   nevertheless would appreciate the opportunity to amend the motion.

6. Given that opportunity, counsel would adjust the tone of the filing, apologize to this Court,

   and say things differently on a second go round.

7. Plaintiff’s counsel appreciates the patience, graciousness, and kindness of this Court.

       WHEREFORE, for all the reasons discussed above, Plaintiff respectfully requests that

this Court grant her an additional 7 days to amend the motion to alter and or amend its ruling of

December 20, 2022, and grant Plaintiff leave to file the Amended Complaint.



                                             Respectfully submitted,

                                             EBONE PORCH



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                                               By:     s/ Calvita J. Frederick
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 20, 2023, the foregoing Motion for

Additional Time to File Amended Rule 59(e) Motion was filed through the Court’s CM/ECF

system, which shall send notification of such filing to all counsel of record at their e-mail addresses

on file with the Court.



                                               s/ Calvita J. Frederick
                                               Attorney for Plaintiff
                                               Calvita J. Frederick




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